                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
In re:

 ADAM ROYCE BIGNELL                                    Case No. 23-42939-tjt

 Debtor.                                               Chapter 11

                                                       Hon. Thomas J. Tucker
 ______________________________________/

 FRANKLIN CAPITAL FUNDING, LLC, a
 Delaware limited liability company,                   A.P. No.
 FRANKLIN CAPITAL MANAGEMENT,
 LLC, a Michigan limited liability company,
 FRANKLIN CAPITAL GROUP, a Michigan                    COMPLAINT TO
 limited liability company                             DETERMINE
                                                       DISCHARGEABILITY OF
                     Plaintiffs,                       DEBT

 vs.

 ADAM ROYCE BIGNELL,

                Defendant.
 ______________________________________/




    23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page4891-5649-0097_3
                                                                              1 of 54
      COMPLAINT TO DETERMINE DISCHARGEABILITY OF DEBT

       Franklin Capital Group, LLC, Franklin Capital Funding, LLC, and Franklin

Capital Management, LLC states as follows in support of its Complaint to Determine

Dischargeability of Debt:

                            JURISDICTION AND PARTIES
       1.    This adversary proceeding is brought under § 523 of Title 11 of the

U.S. Code (the “Bankruptcy Code”) and Federal Rules of Bankruptcy Procedure 4004,

4007, and 7001 to determine the dischargeability of certain debts.

       2.    This Court has jurisdiction over this matter pursuant to 28 U.S.C.

§157(b)(2)(I) and (J), 28 U.S.C. § 1334, and the general order of reference in this

District.

       3.    On March 30, 2023, Debtor Adam Royce Bignell (“Debtor”) filed a

petition for relief under Chapter 11 of the United States Bankruptcy Code.

       4.    On information and belief, Debtor is an individual who resides and/or

conducts business in Oakland County, Michigan.

       5.    Franklin Capital Funding, LLC is a Delaware limited liability company

that maintains its principal place of business in Oakland County. It is the assignee of

all rights, title, and interest in the loan documents described below evidencing loans

from its related entity, Franklin Capital Group, LLC, to Borrower. For ease of




                                             2

    23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page4891-5649-0097_3
                                                                              2 of 54
reference, Franklin will refer to itself as “Franklin” regardless of whether the loan

described before was first originated with Franklin Capital Group, LLC.

         6.    Franklin Capital Management, LLC is a Michigan limited liability

company that maintains its principal place of business in Oakland County.

         7.    This is a core proceeding and venue properly lies in this District under to

28 U.S.C. § 1409.

                             GENERAL ALLEGATIONS

         8.    Franklin is a private company that makes and services small business

loans.


         9.    On or about April 7, 2021, Sahb Energy LLC, a Michigan limited liability

company (“Borrower) executed and delivered to Franklin a Promissory Note (Term

Loan) evidencing a loan in the original principal amount of $1,250,000 (“Note”).

         10.   On April 7, 2021, Borrower executed and delivered to Franklin Capital

Management, LLC an engagement letter (“Engagement Letter”) with respect to certain

consulting services.

         11.   As security for Borrower’s indebtedness to Franklin and Franklin Capital

Management, LLC, Debtor executed and delivered to Franklin and Franklin Capital

Management, LLC, respectively, certain continuing guaranties dated April 7, 2021

(“Guaranties”), in which he guaranteed payment to Franklin of all of Borrower’s

outstanding indebtedness to Franklin under the Note, and to Franklin Capital

                                              3

   23-42939-tjt    Doc 66    Filed 07/31/23   Entered 07/31/23 14:37:17   Page4891-5649-0097_3
                                                                               3 of 54
Management, LLC, all of Borrower’s obligations under the Engagement Letter. Copies

of the Guaranties are attached as Exhibit A.

      12.    As part of the security for the loan and the obligations under the

Engagement Letter, Debtor executed and delivered to Franklin a security agreement

dated April 7, 2021 (“Security Agreement”), in which he granted Franklin a security

interest in all of his cryptocurrency now or in the future deposited or maintained at

Coinbase, Inc. or any affiliate of Coinbase, Inc. (as fully described in the Security

Agreement, the “Crypto Collateral”). A copy of the Security Agreement is attached as

Exhibit B.

      13.    Upon information and belief, after receiving the loan proceeds, Debtor

began transferring such loan proceeds from Borrower’s bank accounts to Debtor’s

personal bank accounts.


      14.    Debtor also used some of the remaining funds in Borrower’s bank

accounts for personal expenses, including but not limited to landscaping projects, in-

ground pool construction, gambling, and personal vacations.


      15.    Upon information and belief, Debtor transferred Borrower funds into an

account owned by Debtor and Debtor’s wife, then removed Debtor’s ownership under

such account, leaving Borrower funds in the sole possession of Debtor’s wife’s

account.



                                            4

   23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page4891-5649-0097_3
                                                                             4 of 54
      16.    Despite acknowledging and agreeing to use proceeds of the loan for

business purposes only, Debtor used the loan proceeds to fund Debtor’s personal

lifestyle and left Borrower completely undercapitalized to perform its business.

      17.    Borrower ceased operations in late 2022 / early 2023, following the loss

of its primary customer.

      18.    On December 14, 2022, a Confessed Judgment in the amount of

$1,105,754.02, plus interest at the contractual rate until the judgment is satisfied was

granted to Franklin against Borrower and Debtor. Debtor has not made payments to

Plaintiffs under the judgment. A copy of the Confessed Judgement is attached as

Exhibit C.

      19.    On December 14, 2022, a Confessed Judgment in the amount of

$38,141.78, plus interest at the contractual rate until the judgment is satisfied was

granted to Franklin Capital Management, LLC against Borrower and Debtor. Debtor

has not made payments to Plaintiffs under the judgment. A copy of the Confessed

Judgement is attached as Exhibit D.


      20.    In addition to the Security Agreement, securing the Confessed Judgments

are two judgment liens dated January 6, 2023 and recorded on January 20, 2023

(“Judgment Liens”). The Judgment Liens are attached as Exhibit E.




                                            5

   23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page4891-5649-0097_3
                                                                             5 of 54
      21.    By this Complaint and the various theories of liability asserted, Plaintiffs

seek a nondischargeable judgment against Debtor for all sums due by Debtor to

Plaintiffs and for attorney fees, costs, and all other recoverable consequential damages.

                           COUNT I
             NONDISCHARGEABILITY OF DEBT THAT AROSE
               THROUGH FRAUD UNDER 11 U.S.C. 523(a)(2)
      22.    Plaintiffs re-allege each of the preceding paragraphs.

      23.    11 U.S.C. § 523 provides:

             Exceptions to discharge

             “(a) A discharge under section 727, 1141, 1192, 1228(a),
             1228(b), or 1328(b) of this title does not discharge an
             individual debtor from any debt— (2) for money,
             property, services, or an extension, renewal, or
             refinancing of credit, to the extent obtained by-- (A) false
             pretenses, a false representation, or actual fraud, other
             than a statement respecting the debtor’s or an insider’s
             financial condition… (B) use of a statement in writing--(i)
             that is materially false; (ii) respecting the debtor’s or an
             insider’s financial condition; (iii) on which the creditor to
             whom the debtor is liable for such money, property, services,
             or credit reasonably relied; and (iv) that the debtor caused to
             be made or published with intent to deceive* * *”
             (emphasis added).

      24.    Debtor was the sole member of Borrower and, accordingly, is personally

liable for its tortious or wrongful content under applicable law.

      25.    Debtor made materially false representations to Plaintiffs, including his

intention to use the loan proceeds for Borrower’s business.



                                            6

   23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page4891-5649-0097_3
                                                                             6 of 54
      26.    Debtor instead used the proceeds for his own benefit on expenses for his

personal lifestyle.

      27.    Debtor knew these misrepresentations were false when made or made the

misrepresentations with gross recklessness as to their truth at the time he made them.

      28.    The misrepresentations were made with the intent and purpose of

deceiving Plaintiffs to induce them into providing Borrower the loan.

      29.    Plaintiffs justifiably relied on Debtor’s representations and, by engaging

in such misleading conduct, Debtor fraudulently obtained possession of the loan

proceeds.

      30.    Plaintiffs were damaged by Debtor’s materially false statements.

      31.    Accordingly, Debtor’s liability to Plaintiffs is not dischargeable under 11

U.S.C. § 523(a)(2).


                       COUNT II
          NONDISCHARGEABILITY OF DEBT BASED ON
    FRAUD OR DEFALCATION WHILE ACTING IN A FIDUCIARY
 CAPACITY, EMBEZZLEMENT OR LARCENY UNDER 11 U.S.C. 523(a)(4)
      32.    Plaintiffs re-allege each of the preceding paragraphs.

      33.    11 U.S.C. § 523 provides:

             Exceptions to discharge

             “(a) A discharge under section 727, 1141, 1192, 1228(a),
             1228(b), or 1328(b) of this title does not discharge an
             individual debtor from any debt--
             * * *(4) for fraud or defalcation while acting in a fiduciary
             capacity, embezzlement, or larceny;
                                            7

   23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page4891-5649-0097_3
                                                                             7 of 54
             (emphasis added)”


      34.    Debtor was the sole member of Borrower and, accordingly, is personally

liable for its tortious or wrongful content under applicable law.


      35.    As the sole member, Debtor was acting in a fiduciary capacity to

Borrower.

      36.    Debtor caused Borrower to divert company loan proceeds in violation of

the loan documents.

      37.    Debtor’s conduct in converting or embezzling Borrower’s property

constitutes fraud or defalcation while acting in a fiduciary capacity.

      38.    Accordingly, Debtor’s liability to Plaintiffs is not dischargeable under 11

U.S.C. § 523(a)(4).


                         COUNT III
           NONDISCHARGEABILITY OF DEBT BASED ON
      WILLFUL AND MALICIOUS INJURY UNDER 11 U.S.C. 523(a)(6)
      39.    Plaintiffs re-allege each of the preceding paragraphs.

      40.    11 U.S.C. § 523 provides:

             Exceptions to discharge

             “(a) A discharge under section 727, 1141, 1192, 1228(a),
             1228(b), or 1328(b) of this title does not discharge an
             individual debtor from any debt--
             * * *(6) for willful and malicious injury by the debtor to
             another entity or to the property of another entity;
             (emphasis added).”

                                            8

   23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17    Page4891-5649-0097_3
                                                                              8 of 54
      41.    Debtor is the sole member of Borrower and, accordingly, is personally

liable for its tortious or wrongful content under applicable law.


      42.    Debtor used his position as the sole member of Borrower to convert

Borrower’s property.


      43.    Through his willful actions to convert or embezzle Borrower’s property,

Debtor intended to injure Plaintiffs and, in fact, did injure Plaintiffs.

      44.    42.    Accordingly, Debtor’s liability to Plaintiffs is not dischargeable

under 11 U.S.C. § 523(a)(6).




                                RELIEF REQUESTED

                                             9

   23-42939-tjt    Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17      Page4891-5649-0097_3
                                                                                 9 of 54
      WHEREFORE, Plaintiffs request that this Court determine that debts owed to

Plaintiffs by Debtor are nondischargeable. Plaintiffs further request entry of judgment

against Debtor in an amount not less than $1,265,937.91, plus all fees and expenses,

which is nondischargeable.

                                             BODMAN PLC


                                             By:   /s/ J. Adam Behrendt
                                                   J. Adam Behrendt (P58607)
                                                   Noel J. Ravenscroft (P77729)
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Dated: July 31, 2023




                                            10

   23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 4891-5649-0097_3
                                                                             10 of 54
                        Exhibit A




23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 4891-5649-0097_3
                                                                          11 of 54
                                                                               7




23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 12 of 54
23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 13 of 54
23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 14 of 54
23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 15 of 54
23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 16 of 54
23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 17 of 54
23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 18 of 54
23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 19 of 54
23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 20 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A 7-79006EDB21 E4


    Continuing Guaranty
                                                                                              Dated as of April 7, 2021

    Guaranty: To induce Franklin Capital Group, LLC (including its successors and assigns, the "Lender") directly
    or through any of its branches, offices, subsidiaries, or affiliates to provide or extend certain financial
    accommodations and Liabilities to SAHB Energy LLC, a Michigan limited liability company (the "Borrower"),
    and because each of the undersigned (each a "Guarantor") has determined that executing this Guaranty is in
    its interest and to its financial benefit, the Guarantor absolutely and unconditionally guaranties to the Lender
    the full and prompt payment of all Liabilities when due, whether at stated maturity, on demand, by acceleration
    or otherwise. The Guarantor's obligations under this Continuing Guaranty (this "Guaranty") shall be payable in
    lawful money of the United States of America.

    Liabilities: The term "Liabilities" as used in this Guaranty means (i) all obligations, indebtedness and liabilities
    of the Borrower to the Lender, and any of its subsidiaries, affiliates or successors, now existing or later arising,
    including, without limitation, all loans, advances, interest, costs, expenses, fees, overdraft indebtedness, credit
    card indebtedness, letter of credit indebtedness or lease obligations, (ii) all costs and expenses, including
    attorneys' fees, that the Lender may pay or incur in collecting from the Borrower, the Guarantor or any other
    guarantor of all or any of the Liabilities and for liquidating any collateral, (iii) all monetary obligations incurred or
    accrued during the pendency of any bankruptcy, insolvency, receivership or other similar proceedings,
    regardless of whether allowed or allowable in such proceeding, including reasonable attorneys' fees, (iv) all
    "Liabilities" as defined in each of the other Loan Documents and (v) all renewals, extensions, modifications,
    consolidations or substitutions of any of the foregoing, whether the Borrower may be liable jointly with others or
    individually liable as a debtor, maker, co-maker, drawer, endorser, guarantor, surety or otherwise, and whether
    voluntarily or involuntarily incurred, known or unknown, due or not due, absolute or contingent, direct or
    indirect, liquidated or unliquidated. Notwithstanding anything to the contrary in this Guaranty, the term
    "Liabilities" shall not include any Excluded Swap Obligation (as hereinafter defined). "Excluded Swap
    Obligation" means any obligation of Borrower to Lender with respect to a "swap," as defined in Section 1 a(47)
    of the Commodity Exchange Act ("CEA"), if and to the extent that Guarantor's guaranteeing of such swap
    obligation, or Guarantor's granting of a security interest or lien to secure such swap obligation, is or becomes
    illegal under the CEA, or any rule, regulation or order of the Commodity Futures Trading Commission (or the
    application or official interpretation of any thereof), by virtue of Guarantor's failure for any reason to constitute
    an "eligible contract participant," as defined in Section 1 a(18) of the CEA and the regulations thereunder, at the
    time such guarantee or grant of such security interest becomes effective with respect to such swap obligation.
    If any such swap obligation arises under a master agreement governing more than one swap, the foregoing
    exclusion shall apply only to those swap obligations that are attributable to swaps in respect of which
    Guarantor's guaranteeing of, or Guarantor's granting of a security interest or lien to secure, such swaps is or
    becomes illegal.

           "Consulting Engagement Documents", as used in this Guaranty, means, collectively, (i) the
    Engagement Letter, dated as of the date hereof, between Borrower and Franklin Capital Management, LLC
    ("Consultant") and (ii) any guaranty, mortgage, security agreement, and any other document, instrument or
    agreement evidencing, securing or relating to any of the foregoing, together with any and all modifications and
    amendments to any of the foregoing.

           "Loan Documents", as used in this Guaranty, means, collectively, (i) this Guaranty, (ii) the "Loan
   Documents" (as defined in the Promissory Note (Term Loan) dated as of the date hereof, made by Borrower in
   favor of Lender (the "Note")), (iii) the "Loan Documents" (as defined in the Letter Agreement, dated as of the
   date hereof, between Borrower and Lender) and (iv) any guaranty, mortgage, security agreement, swap
   agreement, other interest rate protection agreement, derivative agreement, and any other document,
   instrument or agreement evidencing, securing or relating to any of the foregoing, together with any and all
   modifications and amendments to any of the foregoing.

    Limitation: Guarantor's obligation under this Guaranty is UNLIMITED unless expressly limited in the
    Additional Terms and Conditions of this Guaranty. Unless expressly limited in the Additional Terms and


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            23-42939-tjt       Doc 66       Filed 07/31/23     Entered 07/31/23 14:37:17           Page 21 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4


    Conditions of this Guaranty, there is no limit on the liability and obligations of Guarantor under this Guaranty,
    and this obligation (whether unlimited or limited to the extent specified in the Additional Terms and Conditions)
    shall include, IN ADDITION TO any limited amount of principal guaranteed, all interest on all Liabilities, and all
    costs and expenses of any kind incurred by the Lender in collection efforts against the Borrower and/or the
    Guarantor or otherwise incurred by the Lender in any way relating to the Liabilities or this Guaranty, including
    without limit attorneys’ fees. With respect to the limitation, if any, stated in the Additional Terms and Conditions
    below on the amount of principal guaranteed under this Guaranty, Guarantor agrees that (a) this limitation shall
    not be a limitation on the amount of Borrower's Liabilities to the Lender; (b) any payments by the Guarantor
    shall not reduce the maximum liability of the Guarantor under this Guaranty unless written notice to that effect
    is actually received by the Lender at, or prior to, the time of the payment; and (c) the liability of the Guarantor to
    the Lender shall at all times be deemed to be the aggregate liability of the Guarantor under this Guaranty and
    any other guaranties previously or subsequently given to the Lender by the Guarantor and not expressly
    revoked, modified or invalidated in writing.

    Continued Reliance. The Guarantor may terminate its obligation under this Guaranty as to future Liabilities
    (except as provided below) by (and only by) delivering written notice of termination to the Lender and receiving
    from Lender written acknowledgment of delivery. Such notice shall be effective upon the opening of business
    on the fifth (5) day following written acknowledgment of delivery. If terminated, the Guarantor will continue to
    be liable to the Lender for any Liabilities created, assumed or committed to at the time the termination
    becomes effective, and all subsequent renewals, extensions, modifications and amendments of those
    Liabilities, until all of the same have been fully paid. Termination by any other Guarantor or guarantor shall not
    release the Guarantor from its obligations under this Guaranty. The Lender has no duty to give notice of
    termination by any guarantor or Guarantor to any remaining Guarantors. The Guarantor shall indemnify the
    Lender against all claims, damages, costs and expenses, including, without limit, attorney fees, incurred by the
    Lender in connection with any suit, claim or action against the Lender arising out of any modification or
    termination of a Borrower loan or any refusal by the Lender to extend additional credit in connection with the
    termination of this Guaranty.

    Security. As security for this Guaranty, the Guarantor pledges, assigns and grants to the Lender a continuing
    security interest and lien upon and right of setoff as to and in the following described property and all of its
    additions, substitutions, increments, proceeds and products, whether now owned or later acquired
    (“Collateral”):

            1.       All securities and other property of the Guarantor in the custody, possession or control of the
                     Lender (other than property held by the Lender solely in a fiduciary capacity);

            2.       All property or securities declared or acknowledged by the Guarantor to constitute security for
                     any past, present or future liability, direct or indirect, of the Guarantor to the Lender;

            3.       All claims of any nature, whether now existing or later acquired, that Guarantor has against
                     Borrower (excepting claims under a deed of trust or mortgage covering California real property),
                     including the right of the Lender to collect and realize upon such claims; and

            4.       All balances of deposit accounts of the Guarantor with the Lender (“deposit account” having the
                     meaning given to it §9-102(a)(29) of the UCC (as defined below)).

    The Guarantor agrees that no security now or later held by the Lender for the payment of any Liabilities,
    whether from the Borrower, any guarantor, or otherwise, and whether in the nature of a security interest,
    pledge, lien, assignment, setoff, suretyship, guaranty, indemnity, insurance or otherwise, shall affect in any
    manner the unconditional obligation of the Guarantor under this Guaranty, and the Lender, in its sole
    discretion, without notice to the Guarantor, may release, exchange, enforce and otherwise deal with any
    security without affecting in any manner the unconditional obligation of the Guarantor under this Guaranty.




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           23-42939-tjt        Doc 66      Filed 07/31/23    Entered 07/31/23 14:37:17           Page 22 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4


    The Lender shall have the right at any time to apply its own debt or liability to the Guarantor in whole or partial
    payment of this Guaranty or other present or future liabilities of the Guarantor, direct or indirect, without any
    requirement for mutual maturity. _

    if the Guarantor fails to pay any amount owing under this Guaranty, the Lender shall have all of the rights and
    remedies provided by law or under any other agreement to liquidate or foreclose on and sell the Collateral,
    including but not limited to the rights and remedies of a secured party under the Uniform Commercial Code of
    the State of Michigan, as in effect from time to time (the “UCC”). These rights and remedies shall be
    cumulative and not exclusive and are further set forth in the Loan Documents.

    For purposes of the following paragraphs and the definition of “Liabilities”, “any collateral’ shall include the
    Collateral and any other collateral securing the Liabilities.

    Action Regarding Borrower. If any monies become available that the Lender can apply to the Liabilities, the
    Lender may apply them in any manner it chooses, including but not limited to applying them against Liabilities
    which are not covered by this Guaranty. The Lender can take any action against the Borrower, any collateral,
    or any other person liable for any of the Liabilities. The Lender can release the Borrower or anyone else from
    its liability for the Liabilities, either in whole or in part, or release any collateral, and need not perfect a security
    interest in any collateral. The Lender does not have to exercise any rights that it has against the Borrower or
    anyone else, or make any effort to realize on any collateral or right of set-off. If the Borrower requests more
    credit or any other benefit, the Lender may grant it and the Lender may grant renewals, extensions,
    modifications and amendments of any of the Liabilities and otherwise deal with the Borrower or any other
    person as the Lender sees fit and as if this Guaranty were not in effect. The Guarantor’s obligations under this
    Guaranty shall not be released or affected by (a) any act or omission of the Lender, (b) the voluntary or
    involuntary liquidation, sale or other disposition of all or substantially all of the assets of the Borrower, or any
    receivership, insolvency, bankruptcy, reorganization, or other similar proceedings affecting the Borrower or any
    of its assets, or (c) any change in the composition or structure of the Borrower or the Guarantor, including a
    merger or consolidation with any other person or entity.

   Nature of Guaranty. This Guaranty is a guaranty of payment and not of collection. The Lender can insist that
   the Guarantor pay immediately, and the Lender is not required to attempt to collect first from the Borrower, any
   collateral, or any other person liable for any of the Liabilities. The obligation of the Guarantor shall be
   unconditional and absolute, regardless of the invalidity, irregularity, or unenforceability of any provision of any
   agreement between the Borrower and the Lender by reason of bankruptcy, insolvency or other law or order of
   any kind or for any reason, or the existence of any defense, setoff or counterclaim which the Borrower may
   assert. This Guaranty shall remain effective whether the Liabilities are from time to time reduced and later
   increased or entirely extinguished and later reincurred. This Guaranty shall remain effective with respect to
   successive transactions which shall either continue the Liabilities, increase or decrease the Liabilities, or from
   time to time create new Liabilities after all or any prior Liabilities have been satisfied, until this Guaranty is
   terminated in the manner and to the extent provided below.

   Other Guarantors. If there is more than one Guarantor, their obligations under this Guaranty shall be joint
   and several. In addition, each Guarantor shall be jointly and severally liable with any other guarantor of any of
   the Liabilities.  Lender, in its scle discretion, may release any one or more of the Guarantors or other
   guarantors for any consideration which it deems adequate, and may fail or elect not to prove a claim against
   the estate of any bankrupt, insolvent, incompetent or deceased Guarantor or other guarantor; and after that,
   without notice to any Guarantor, the Lender may extend or renew any or all Liabilities and may permit the
   Borrower to incur additional Liabilities, in each case, without affecting in any manner the unconditional
   obligation of the remaining Guarantors. This Guaranty is not conditioned on anyone else executing this or any
   other guaranty.

   Rights of Subrogation. The Guarantor subordinates any claim of any nature that it now or later has against
   the Borrower to and in favor of all Liabilities and agrees not to accept payment or satisfaction of any claim that
   the Guarantor now or later may have against the Borrower without the prior written consent of the Lender.


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           23-42939-tjt        Doc 66      Filed 07/31/23      Entered 07/31/23 14:37:17            Page 23 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4


    Should any payment, distribution, security, or proceeds, be received by the Guarantor upon or with respect to
    any claim that the Guarantor now or may later have against the Borrower, the Guarantor shall immediately
    deliver the same to the Lender in the form received (except for endorsement or assignment by the Guarantor
    where    required   by the     Lender)   for application   on   the   Liabilities,   whether   matured   or unmatured,   and   until
    delivered the same shall be held in trust by the Guarantor as the property of the Lender. The Guarantor further
    agrees that if any payments to the Lender on any of the Liabilities are in whole or in part invalidated, declared
    to be fraudulent or preferential, set aside or required to be repaid to a trustee, receiver or any other party under
    any bankruptcy act or code, state or federal law, common law or equitable doctrine, this Guaranty and the
    Lender's interest in any collateral remain in full force and effect (or are reinstated as the case may be) until
    payment in full of those amounts. Any payment is due on demand.

    Reinstatement. Notwithstanding any prior revocation, termination, surrender or discharge of this Guaranty (or
    of any lien, pledge or security interest securing this Guaranty) in whole or in part, the effectiveness of this
    Guaranty, and of all liens, pledges and security interests securing this Guaranty, shall automatically continue or
    be reinstated, as the case may be, in the event that any payment received or credit given by the Lender in
    respect of the Liabilities is returned, disgorged or rescinded as a preference, impermissible setoff, fraudulent
    conveyance, diversion of trust funds or otherwise under any applicable state or federal law, including, without
    limitation, laws pertaining to bankruptcy or insolvency, in which case this Guaranty, and all liens, pledges and
    security interests securing this Guaranty, shall be enforceable against the Guarantor as if the returned,
    disgorged or rescinded payment or credit had not been received or given by the Lender, and whether or not
    the Lender relied upon this payment or credit or changed its position as a consequence of it. In the event of
    continuation or reinstatement of this Guaranty and the liens, pledges and security interests securing it, the
    Guarantor agrees upon demand by the Lender, to execute and deliver to the Lender those documents which
    the Lender determines are appropriate to further evidence (in the public records or otherwise) this continuation
    or reinstatement, although the failure of the Guarantor to do so shall not affect in any way the reinstatement or
    continuation. If the Guarantor does not execute and deliver to the Lender upon demand such documents, the
    Lender and each Lender officer is irrevocably appointed (which appointment is coupled with an interest) the
    true and lawful attorney of the Guarantor (with full power of substitution) to execute and deliver such
    documents in the name and on behalf of the Guarantor.

    Waivers. The Guarantor waives, to the extent not expressly prohibited by applicable law, any right it may have
    to receive notice of the following matters before the Lender enforces any of its rights: (a) the Lender’s
    acceptance of this Guaranty, (b) any credit or other Liabilities that the Lender extends to the Borrower, (c) any
    presentment, demand, protest, notice of protest, dishonor, notice of dishonor, notice of default, notice of intent
    to accelerate or demand payment or notice of acceleration of any Indebtedness, any and all other notices to
    which the Guarantor might otherwise be entitled, and diligence in collecting any Liabilities and (d) any action
    that the Lender takes regarding the Borrower, anyone else, any collateral, or any of the Liabilities, which it
    might be entitled to by law or under any other agreement, including, without limitations, the terms, time and
    place of any public or private sale of personal property security held ‘from the Borrower or any other person,
    and the provisions of Section 9-611 or 9-621 of the Michigan or any other applicable Uniform Commercial
    Code, as the same may be amended, revised or replaced from time to time. The Lender may waive or delay
    enforcing any of its rights without losing them. Any waiver shall affect only the specific terms and time period
    stated   in the waiver.   No    modification,   waiver or amendment         of this Guaranty shall be effective unless it is in
   writing and signed by the party against whom it is being enforced.

   The Guarantor unconditionally and irrevocably waives each and every defense and setoff of any nature which,
   under principles of guaranty or otherwise, would operate to impair or diminish in any way the obligation of the
   Guarantor under this Guaranty, and acknowledges that each such waiver is by this reference incorporated into
   each security agreement, collateral assignment, pledge and/or other document from the Guarantor now or later
   securing this Guaranty and/or the Liabilities, and acknowledges that as of the date of this Guaranty no such
   defense or setoff exists. The Guarantor acknowledges that the effectiveness of this Guaranty is subject to no
   conditions of any kind.




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             23-42939-tjt          Doc 66     Filed 07/31/23         Entered 07/31/23 14:37:17                Page 24 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4


    The Guarantor agrees that the Lender may, once or any number of times, modify the terms of any Liabilities,
    compromise, extend, increase, accelerate, renew or forbear to enforce payment of any or all Liabilities, or
    permit the Borrower to incur additional Liabilities, all without notice to the Guarantor and without affecting in
    any manner the unconditional obligation of the Guarantor under this Guaranty.

    Information.     The Guarantor delivers this Guaranty based solely on its independent investigation of (or
    decision not to investigate) the financial condition of Borrower and is not relying on any information furnished
    by the Lender. The Guarantor assumes full responsibility for keeping itself informed of the Borrower's financial
    condition and assets, and all other circumstances bearing upon the risk of nonpayment of any of the Liabilities
    and the nature, scope and extent of the Guarantor’s risks under this Guaranty, and the Guarantor accepts the
    full range of risk encompassed by this Guaranty. The Guarantor represents and warrants that it (i) has not
    relied on any representation of the Lender as to Borrower's financial condition and assets, creditworthiness,
    and all other circumstances bearing upon the risk of nonpayment of any of the Liabilities and (ii) has
    established adequate means of obtaining from the Borrower on a continuing basis financial and other
    information pertaining to the Borrower's financial condition. The Lender has no duty to advise the Guarantor of
    information known to it regarding Borrower’s (or any other Guarantor’s or guarantor’s) operations, condition,
    assets,    liabilities,   circumstances   or risks,   or the   occurrence    of any   default   with   respect   the     Liabilities,   or
    otherwise, notwithstanding any effect these facts may have upon the Guarantor’s risk under this Guaranty or
    the Guarantor’s rights against the Borrower.

    Representations by Guarantor. (a) As of the date of this Guaranty, each Guarantor represents that such
    Guarantor has not made any qualified dispositions of any of his/her/its property to (i) a trust established under
    the Qualified Dispositions in Trust Act (codified at MCL 700.1041 et. seq.) (“Act”), or (ii) any other asset
    protection trust.

    Each Guarantor agrees to not make or attempt any qualified dispositions or other distribution or transfers of
    any of its property into a trust established under the Act, or any other asset protection trust, without obtaining
    the prior written consent of the Lender. Lender’s consent to any such requested distribution shall be at the sole
    and absolute discretion of the Lender. Any consent provided by Lender described in this paragraph shall only
    be applicable for property identified and disclosed in writing by a Guarantor to Lender. Lender’s consent shall
    not be applicable to: (x) any other property of any Guarantor which is not disclosed to Lender in writing as part
    of the qualified disposition under the Act; or (y) any other qualified disposition of property under the Act
    previously attempted or attempted in the future by any Guarantor.

    Each Guarantor acknowledges and agrees that if Lender does not provide its written consent to a Guarantor
    for a qualified or other disposition under the Act, then such disposition by the Guarantor shall not be valid
    under the Act with respect to Lender.

    Each Guarantor agrees that such Guarantor has an obligation to disclose immediately in writing to Lender any
    qualified dispositions or attempted qualified dispositions to a trust under the Act and any other disposition to an
    asset protection trust.

   Each Guarantor agrees that this Guaranty constitutes a written agreement described in the Act between a
   transferor and a creditor providing for and establishing the obligations of a transferor as stated in Subsection
   (11) of Section 5 of the Act.

   Each Guarantor’s failure to comply with any provisions of this section shall constitute a default, Default or
   Event of Default, as applicable, under the Loan Documents. The Lender shall have those rights and remedies
   upon the occurrence of a default, Default or Event of Default, as applicable, as set forth in each applicable
   Loan Document, including without limitation the right to accelerate the payment of any amounts outstanding
   under the Note.

   The terms used in this Section (a) shall have the meaning                    ascribed to them      in the Act, unless otherwise
   defined in this Guaranty.


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              23-42939-tjt        Doc 66      Filed 07/31/23         Entered 07/31/23 14:37:17                Page 25 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4


    (b) The Guarantor represents: (i) that the execution and delivery of this Guaranty and the performance of the
    obligations it imposes do not violate any law, conflict with any agreement by which it is bound, or require the
    consent or approval of any governmental authority or any third party; (ii) that this Guaranty is a valid and
    binding agreement, enforceable according to its terms; and (iii) that all balance sheets, profit and loss
    statements, and other financial statements furnished by it to the Lender are accurate and fairly reflect the
    financial condition of the organizations and persons to which they apply on their effective dates, including
    contingent liabilities of every type, which financial condition has not changed materially and adversely since
    those dates. Each Guarantor, other than a natural person, further represents: (i) that it is duly organized,
    existing and in good standing pursuant to the laws under which it is organized; and (ii) that the execution and
    delivery of this Guaranty and the performance of the obligations it imposes (A) are within its powers and have
    been duly authorized by all necessary action of its governing body and (B) do not contravene the terms of its
    articles of incorporation or organization, its by-laws, or any partnership, operating or other agreement
    governing its affairs.

    Lending Installations.      The Liabilities may be booked at any office, branch, subsidiary or affiliate of the
    Lender, as selected by the Lender. All terms of this Guaranty apply to and may be enforced by or on behalf of
    any such office, branch, subsidiary or affiliate of the Lender. Without limiting the rights of the Lender under
    applicable law, the Guarantor authorizes the Lender to apply any sums outstanding to the credit of the
    Guarantor with any such office, branch, subsidiary or affiliate of the Lender toward the payment of the
    Liabilities by the Guarantor under this Guaranty, whether or not all or any part of the Liabilities is then due.

    Notices. Notice from one party to another relating to this Guaranty shall be deemed effective if made in writing
    (including telecommunications) and delivered to the recipient's address or email listed below its signature to
    this Guaranty by any of the following means: (a) hand delivery, (b) registered or certified mail, postage prepaid,
    with return receipt requested, (c) first class or express mail, postage prepaid, (d) Federal Express or like
    overnight courier service or (e) facsimile, telex or other wire transmission with request for assurance of receipt
    in a manner typical with respect to communications of that type. Notice made in accordance with this section
    shall be deemed delivered on receipt if delivered by hand or wire transmission, on the third business day after
    mailing if mailed by first class, registered or certified mail, or on the next business day after mailing or deposit
    with an overnight courier service if delivered by express mail or overnight courier. Notwithstanding the
    foregoing, notice of termination of this Guaranty shall be deemed received only upon the receipt of actual
    written notice by the Lender in accordance with the paragraph above labeled “Continued Reliance.” Notice
    shall be delivered as follows:

                     If to the Guarantor: at the address below its signature hereto

                     lf to Lender:

                             Franklin Capital Group, LLC
                             32300 Northwestern Hwy, Suite #200
                             Farmington Hills, Michigan 48334
                             Attn: Loan Servicing
                             Phone: (248) 538-4024
                             Email: service@franklincapital.net

   Law and Judicial Forum that Apply. This agreement is governed by Michigan law, without regard to conflict
   of law principles. The Guarantor irrevocably submits to the non-exclusive jurisdiction of any United States
   federal court sitting in the Eastern District of Michigan or any state court in Oakland County in the State of
   Michigan in any action or proceeding arising out of or relating to this Guaranty, and the Guarantor irrevocably
   agrees that all such claims may be heard and determined in any such court and irrevocably waives any
   present and future objection it may have as to the venue of any action or proceeding brought in that court, or
   that that court is an inconvenient forum. Any suit brought by the Guarantor related to this Guaranty may only
   be brought in the United States federal court sitting in the Eastern District of Michigan or in a state court in
   Oakland County in the State of Michigan. Nothing herein shall limit the right of the Lender to bring any action or

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            23-42939-tjt       Doc 66       Filed 07/31/23    Entered 07/31/23 14:37:17         Page 26 of 54
DocuSign Envelope ID: FEODB556-~-CED7-44A4-B9A7-79006EDB21E4


    proceeding against the Guarantor in the courts of any other jurisdiction if necessary or convenient to effect the
    relief sought.

    Miscellaneous. The Guarantor’s liability under this Guaranty is independent of its liability under any other
    guaranty previously or subsequently executed by the Guarantor or any one of them, singularly or together with
    others, as to all or any part of the Liabilities, and may be enforced for the full amount of this Guaranty
    regardless of the Guarantor’s liability under any other guaranty. This Guaranty is binding on the Guarantor’s
    heirs, successors and assigns (including, without limitation, any debtor in possession or trustee in bankruptcy
    for the Guarantor), and will operate to the benefit of the Lender and its successors and assigns. The use of
    headings are included for the convenience of reference only and shall not limit the provisions of this Guaranty
    for any purpose. This Guaranty, together with each other Loan Document to which the Guarantor is a party,
    constitutes the entire agreement of the Guarantor and the Lender with respect to the subject matter of this
    Guaranty. The Guarantor acknowledges that the Lender has the right to sell, assign, transfer, negotiate, or
    grant participations in all or any part of the Liabilities and any related obligations, including, without limit, this
    Guaranty, without notice to the Guarantor. In the event any one or more provisions of this Guaranty is deemed
    invalid, illegal or unenforceable in any respect, the remaining provisions of this Guaranty shall continue in full
    force and effect as if such invalid, illegal or unenforceable provision(s) was not a part of this Guaranty. The
    Guarantor has knowingly and voluntarily entered into this Guaranty in good faith, and acknowledges that the
    terms of this Guaranty are reasonable.

    Conflict. The Guarantor acknowledges that Lender, its investors, principals and/or affiliates may be (a)
    providing debt financing, equity capital or other services (including financial advisory or consulting services) to
    other companies in respect of which the Guarantor may have conflicting interests regarding the transactions
    described herein or otherwise or (b) engaged in a broad range of transactions (including providing merchant
    cash advances or merchant consumer financing) that may involve interests that differ from the interests of the
    Guarantor. Without limiting the foregoing, certain providers of merchant cash advances (including providers
    who may have provided merchant cash advances to the Borrower), or their principals, may be referral sources
    to the Lender and may also be investors in Lender or an affiliate of Lender. The Guarantor further
    acknowledges that neither Lender, its investors, principals and/or affiliates have any obligation to disclose such
    interests and transactions to the Guarantor by virtue of any fiduciary, advisory or agency relationship, and the
    Guarantor waives, to the fullest extent permitted by law, any actual or alleged conflict of interest, and any
    claims they may have against, Lender, its investors, principals and/or affiliates, for breach of fiduciary duty or
    alleged breach of fiduciary duty, and agree that the Lender, its investors, principals and or affiliates shall have
    no liability (whether direct or indirect) to the Guarantor in respect of such a conflict of interest or fiduciary duty
    claim, or to any person alleging a conflict of interest or asserting a fiduciary duty claim on behalf of or in right of
    the Guarantor, including any creditors thereof. The Guarantor further acknowledges that Lender is not a
    fiduciary of the Guarantor.

    Release. The Guarantor hereby releases the Lender, its affiliates and subsidiaries and all of their respective
    officers, directors, employees, shareholders, agents, attorneys and representatives as well as their respective
    successors     and   assigns   from   any   and   all   claims,   obligations,   rights,   causes   of action,   and   liabilities,   of
   whatever kind or nature, whether known or unknown, whether foreseen or unforeseen, arising on or before the
   date hereof (the “Released Matters”). Without limiting the generality of the foregoing, the Guarantor hereby
   waives the provisions of any statute or doctrine to the effect that a general release does not extend to claims
   which a releasing party does not know or suspect to exist in its favor at the time of executing the release, which
   if known by such releasing party would have materially affected the releasing party’s settlement with the party
   being released. The Guarantor acknowledges that the agreements in this paragraph are intended to be in full
   satisfaction of all or any alleged injuries or damages arising in connection with the Released Matters. If the
   Guarantor asserts or commences any claim, counter-claim, demand, obligation, liability or cause of action in
   derogation of the foregoing release or challenges the enforceability of the foregoing release (in each case, a
   “Violation”), then the Guarantor agrees to pay in addition to such other damages as any party being released
   may sustain as a result of such Violation, all reasonable attorneys’ fees and expenses (including in-house and
   outside counsel) incurred by such party being released as a result of such Violation. —



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            23-42939-tjt        Doc 66       Filed 07/31/23           Entered 07/31/23 14:37:17              Page 27 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4


    Information Sharing.   The Lender may provide, without any limitation whatsoever, any information or
    knowledge the Lender may have about the Guarantor or any matter relating to this Guaranty and any related
    documents    to any of its subsidiaries or affiliates or their successors,             to the Borrower,   or to any one or more
    purchasers or potential purchasers of the Liabilities or this Guaranty or any related documents, and the
    Guarantor waives any right to privacy the Guarantor may have with respect to such matters. The Guarantor
    agrees that the Lender may without notice and at any time sell, negotiate, assign or transfer one or more
    interests or participations in all or any part of its rights or obligations under the documents evidencing the
    Liabilities or in this Guaranty to one or more purchasers whether or not related to the Lender. This Guaranty
    may only be modified or amended in a written instrument executed by the Lender and the Guarantor.

    Additional Terms and Conditions.           None.

    Waiver of Jury Trial. Lender and the Guarantor acknowledge that the right to a trial by jury is a constitutional
    right that may be waived. After consulting or being given the opportunity to consult with legal counsel, the
    Lender and the Guarantor knowingly and voluntarily waive any right either of them have to a trial by jury in any
    proceeding (whether sounding in contract or tort) which is in any way connected with this Guaranty, any related
    agreement or the relationship established under them, or the Liabilities.

                                                [remainder of page intentionally left biank]




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           23-42939-tjt       Doc 66       Filed 07/31/23           Entered 07/31/23 14:37:17                 Page 28 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4


              IN WITNESS     WHEREOF,       the undersigned have caused this Guaranty to be executed as of the date
    first written above.



                                                                         Lam Bagnall
                                                                           meearentor:


                                                                           CR4ANB8598454

                                                                         ADAM BIGNELL, individually
                                                                         Address:
                                                                         31153 W. Chelton Drive,
                                                                         Beverly Hills, Michigan 48025
                                                                         Phone: 248-882-1664
                                                                         Email: adamb@sahbenergy.com




                                             [Signature Page to Continuing Guaranty (17556679)]
                                                                                                            Bodman_17556679_2



           23-42939-tjt       Doc 66       Filed 07/31/23           Entered 07/31/23 14:37:17         Page 29 of 54
                        Exhibit B




23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 4891-5649-0097_3
                                                                          30 of 54
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                                                                    SECURITY
                                                                    SECURITY AGREEMENT
                                                                               AGREEMENT
                                                                        (Cryptocurrency)
                                                                        (Cryptocurrency)


            As
            As of of April
                      April 7,    7, 2021,
                                       2021, for for value
                                                        value received,
                                                                   received, the   the undersigned
                                                                                          undersigned ("Obligor")
                                                                                                                (“Obligor”) grants  grants to to Franklin
                                                                                                                                                    Franklin CapitalCapital
            Group,
            Group, LLC   LLC (including
                                   (including its     its successors
                                                            successors and     and assigns,
                                                                                       assigns, the   the "Lender")
                                                                                                            “Lender”) aa continuing
                                                                                                                                continuing security security interest
                                                                                                                                                                   interest
            and lien
            and    lien ((any
                            any pledge,
                                     pledge, assignment,
                                                  assignment, security  security interest
                                                                                       interest or   or other
                                                                                                          other lien
                                                                                                                   lien arising
                                                                                                                           arising hereunder
                                                                                                                                       hereunder is      is sometimes
                                                                                                                                                              sometimes
            referred
            referred to   to herein
                                herein as  as aa 'security
                                                   ‘security interest)
                                                                     interest) in  in the
                                                                                        the Collateral
                                                                                               Collateral (as   (as defined        below) to
                                                                                                                      defined below)           to secure         payment
                                                                                                                                                     secure payment
            when
            when due, due, whether
                                whether by     by stated
                                                     stated maturity,
                                                                  maturity, demand demand acceleration
                                                                                                  acceleration or      or otherwise,
                                                                                                                            otherwise, of     of all
                                                                                                                                                   all existing
                                                                                                                                                          existing and   and
            future
            future indebtedness
                       indebtedness ("Indebtedness")
                                               (“Indebtedness”) to           to the
                                                                                 the Lender
                                                                                         Lender of    of SAHB
                                                                                                           SAHB EnergyEnergy LLC   LLC ("Borrower")
                                                                                                                                            (“Borrower”) and/or     and/or
            Obligor.
            Obligor. Indebtedness
                           Indebtedness includes  includes withoutwithout limit limit anyany and and allall obligations
                                                                                                             obligations or    or liabilities
                                                                                                                                    liabilities of  of the
                                                                                                                                                         the Borrower
                                                                                                                                                                Borrower
            and/or
            and/or Obligor
                        Obligor to      to the
                                            the Lender,
                                                   Lender, whether whether absolute
                                                                                 absolute or      or contingent,
                                                                                                       contingent, direct  direct or or indirect,
                                                                                                                                          indirect, voluntary
                                                                                                                                                          voluntary or     or
            involuntary,
            involuntary, liquidatedliquidated or      or unliquidated,
                                                             unliquidated, joint     joint or  or several,
                                                                                                      several, knownknown or     or unknown;
                                                                                                                                       unknown; any       any and and all all
            obligations or
            obligations         or liabilities
                                     liabilities for for which
                                                            which the   the Borrower
                                                                              Borrower and/or   and/or Obligor
                                                                                                            Obligor wouldwould otherwise
                                                                                                                                    otherwise be      be liable
                                                                                                                                                            liable toto the
                                                                                                                                                                         the
            Lender
            Lender were were it    it not
                                       not forfor the
                                                    the invalidity
                                                            invalidity or    or unenforceability
                                                                                  unenforceability of          of them
                                                                                                                    them by  by reason
                                                                                                                                   reason of  of any
                                                                                                                                                   any bankruptcy,
                                                                                                                                                            bankruptcy,
            insolvency or
            insolvency           or other
                                      other law,law, or    or forfor anyany other
                                                                               other reason;
                                                                                           reason; any    any andand all all amendments,
                                                                                                                               amendments, modifications,
                                                                                                                                                       modifications,
            renewals
            renewals and/or and/or extensions
                                          extensions of       of any
                                                                   any of of the
                                                                               the above;
                                                                                       above; all   all costs
                                                                                                          costs incurred
                                                                                                                   incurred by    by Lender
                                                                                                                                        Lender in    in establishing,
                                                                                                                                                           establishing,
            determining,
            determining, continuing,continuing, or       or defending
                                                                defending the     the validity
                                                                                          validity or    or priority
                                                                                                              priority of   of its
                                                                                                                                 its security
                                                                                                                                       security interest,
                                                                                                                                                       interest, or   or inin
            pursuing its
            pursuing              rights and
                            its rights       and remedies
                                                    remedies under    under this this Agreement
                                                                                         Agreement or        or under
                                                                                                                  under any  any other
                                                                                                                                    other agreement
                                                                                                                                             agreement between   between
            Lender
            Lender and  and Borrower
                                 Borrower and/or and/or Obligor
                                                              Obligor or    or in
                                                                                in connection
                                                                                     connection with     with any      proceeding involving
                                                                                                                 any proceeding           involving Lender   Lender as  as aa
            result of any financial accommodation to Borrower and/or Obligor; and all other costs of
            result    of     any      financial        accommodation                to    Borrower          and/or      Obligor;        and    all    other      costs     of
            collecting
            collecting Indebtedness,
                              Indebtedness, including  including withoutwithout limit  limit attorney
                                                                                                attorney fees. fees. Obligor
                                                                                                                        Obligor agreesagrees to  to paypay Lender
                                                                                                                                                               Lender all  all
            such    costs incurred
            such costs         incurred by   by thethe Lender,
                                                          Lender, immediately
                                                                         immediately upon      upon demand,
                                                                                                         demand, and    and until      paid all
                                                                                                                              until paid       all costs
                                                                                                                                                      costs shall
                                                                                                                                                                shall bear
                                                                                                                                                                        bear
            interest
            interest at  at the
                              the highest
                                     highest per per annum
                                                         annum rate   rate applicable
                                                                             applicable to      to any
                                                                                                     any of of the
                                                                                                                the Indebtedness,
                                                                                                                      Indebtedness, but      but notnot in  in excess
                                                                                                                                                                excess of  of
            the   maximum            rate   permitted          by    law.     Any      reference
            the maximum rate permitted by law. Any reference in this Agreement to attorney fees shall bein  this   Agreement          to  attorney        fees    shall   be
            deemed
            deemed aa reference
                             reference to     to reasonable
                                                  reasonable fees,     fees, costs,
                                                                               costs, and  and expenses
                                                                                                  expenses of     of both
                                                                                                                      both in-house
                                                                                                                              in-house and   and outside
                                                                                                                                                     outside counsel
                                                                                                                                                                   counsel
            and    paralegals, whether
            and paralegals,            whether or    or not
                                                          not aa suit
                                                                    suit oror action
                                                                                action is   is instituted,
                                                                                               instituted, and   and toto court
                                                                                                                            court costs
                                                                                                                                     costs ifif aa suit
                                                                                                                                                     suit or or action
                                                                                                                                                                 action is  is
            instituted,
            instituted, and   and whether
                                     whether attorney
                                                   attorney fees    fees oror court
                                                                               court costscosts are are incurred
                                                                                                          incurred at   at the
                                                                                                                            the trial
                                                                                                                                  trial court
                                                                                                                                         court level,
                                                                                                                                                   level, on  on appeal,
                                                                                                                                                                   appeal,
            in
            in aa bankruptcy,
                   bankruptcy, administrative
                                         administrative or             probate proceeding
                                                                  or probate        proceeding or       or otherwise.
                                                                                                             otherwise.

            1.
            1.     As
                   As used
                        used in in this
                                    this Agreement,
                                         Agreement, the
                                                    the following
                                                        following terms
                                                                  terms shall
                                                                        shall have
                                                                              have the
                                                                                   the following
                                                                                       following respective
                                                                                                 respective
            meanings
            meanings set
                      set forth
                           forth below:
                                  below:

                                "Collateral"
                                “Collateral” shall
                                               shall mean
                                                     mean all
                                                            all of
                                                                of the
                                                                   the following property Obligor
                                                                       following property Obligor now
                                                                                                  now or
                                                                                                      or later
                                                                                                         later owns
                                                                                                               owns
                        or
                        or has
                           has an
                               an interest
                                  interest in,
                                           in, wherever
                                               wherever located:
                                                         located:

                        (a)
                        (a)         all
                                     all of
                                         of Obligor's
                                             Obligor’s right,
                                                         right, title
                                                                 title and
                                                                        and interest
                                                                              interest in in all
                                                                                              all cryptocurrency
                                                                                                  cryptocurrency now   now or
                                                                                                                            or in
                                                                                                                                in the
                                                                                                                                   the future
                                                                                                                                       future
                                    deposited
                                    deposited or  or maintained
                                                      maintained at    at Coinbase,
                                                                           Coinbase, Inc.   Inc. oror any
                                                                                                       any affiliate
                                                                                                              affiliate of
                                                                                                                         of Coinbase,
                                                                                                                             Coinbase, Inc.
                                                                                                                                         Inc.
                                    ((collectively,
                                      collectively, "Coin     base"), and
                                                      “Coinbase”),       and all
                                                                               all digital
                                                                                     digital assets,
                                                                                               assets, cash,
                                                                                                         cash, accounts,
                                                                                                                 accounts, oror other
                                                                                                                                 other assets
                                                                                                                                       assets
                                    now
                                    now or  or hereafter
                                                hereafter deposited
                                                             deposited or   or maintained
                                                                                 maintained in,    in, or
                                                                                                        or credited
                                                                                                            credited to,to, such
                                                                                                                            such Coinbase
                                                                                                                                    Coinbase
                                    accounts,
                                     accounts, and any and all sub-accounts and accounts in substitution or
                                                  and    any    and     all   sub-accounts          and    accounts     in  substitution    or
                                    replacement
                                    replacement thereof
                                                    thereof ((collectively,
                                                               collectively, the  the "Coinbase
                                                                                       “Coinbase Account");
                                                                                                      Account”);

                        (b)
                        (b)         all
                                    all cryptocurrency
                                        cryptocurrency and
                                                        and digital
                                                             digital assets
                                                                      assets now
                                                                             now or
                                                                                 or in
                                                                                    in the
                                                                                       the future
                                                                                           future owned
                                                                                                  owned by
                                                                                                        by Obligor
                                                                                                           Obligor
                                    (whether
                                    (whether with
                                              with Coinbase
                                                   Coinbase or
                                                            or otherwise);
                                                                otherwise);




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            23-42939-tjt               Doc 66            Filed 07/31/23                   Entered 07/31/23 14:37:17                               Page 31 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4




                     (c)        any other cryptocurrency now or in the future issued with respect to any of the
                                foregoing cryptocurrency as a result of a fork or other event that results in the
                                holders of cryptocurrency receiving additional or replacement cryptocurrency
                                (whether or not such other cryptocurrency is held in, on deposit in or otherwise
                                allocated to the Coinbase Account);

                     (d)        all rights to receive delivery of or withdraw any of the foregoing cryptocurrency
                                and all rights against Coinbase (or other depository or exchange) with respect to
                                the foregoing cryptocurrency; and

                     (e)        all additions, replacements, substitutions, interest, rights of any kind, and
                                proceeds of or pertaining to the above including, without limit, cash or other
                                property which were proceeds and are recovered by a bankruptcy trustee or
                                otherwise as a preferential transfer by Obligor.

            In the definition of Collateral, a reference to a type of collateral shall not be limited by a separate
            reference to a more specific or narrower type of that collateral.

                    “Letter Agreement” shall mean the letter agreement, dated as of the date hereof,
            between Lender and Borrower (as it may be amended, restated, supplemented or otherwise
            modified from time to time).

            2.       Warranties,      Covenants    and Agreements.     Obligor warrants, covenants and agrees as
                     follows:

                     2.1        [Reserved]

                   22.2         To the extent any portion of the Collateral is of the nature that perfection of
                                Lender’s security interest may be accomplished by control under the Uniform
                                Commercial Code, the Coinbase Agreement (as defined below) constitutes
                                exclusive control (as defined in the Uniform Commercial Code) over such
                                Collateral and perfects Lender’s security interest in such Collateral by control.

                    23          Obligor shall furnish to Lender, in form and at intervals as Lender may request,
                                any information Lender may reasonably request and allow Lender to examine,
                                inspect, and copy any of Obligor’s books and records including, without limit, all
                                documents related to the Collateral. Obligor shall, at the request of Lender, mark
                                its records and the Collateral to clearly indicate the security interest of Lender
                                under this Agreement.

                    2.4         At the time any Collateral becomes, or is represented to be, subject to a security
                                interest in favor of Lender, Obligor shall be deemed to have warranted that (a)
                                Obligor is the lawful owner of the Collateral and has the right and authority to
                                subject it to a security interest granted to Lender; (b) none of the Collateral is
                                subject to any security interest other than that in favor of Lender or as otherwise
                                permitted in Lender’s discretion and there are no financing statements on file,
                                other than in favor of Lender or as permitted in Lender’s discretion; (c) there are
                                no financing statements on file, other than in favor of Lender; (d) no person, other

                                                                 2
                                                                                                     Bodman_17559263_5



           23-42939-tjt          Doc 66      Filed 07/31/23      Entered 07/31/23 14:37:17          Page 32 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4




                             than Lender, has possession or control (as defined in the Uniform Commercial
                             Code) of any Collateral of such nature that perfection of a security interest may be
                             accomplished by control; and (e) Obligor acquired its rights in the Collateral in
                             the ordinary course of its business.

                     2.5     Obligor will keep the Collateral free at all times from all claims, liens, security
                             interests and encumbrances other than those in favor of Lender or as permitted in
                             Lender’s discretion. Obligor will not, without the prior written consent of Lender,
                             sell, transfer or lease, or permit to be sold, transferred or leased, any or all of the
                             Collateral, except to the extent permitted in Section 7 below.           Lender or its
                             representatives may at all reasonable times inspect the Collateral and may enter
                             upon all premises where the Collateral is kept or might be located.

                     2.6     Obligor will do all acts and will execute or cause to be executed all writings
                             requested by Lender to establish, maintain and continue a perfected and first
                             security interest of Lender in the Collateral. Obligor agrees that Lender has no
                             obligation to acquire or perfect any lien on or security interest in any asset(s),
                             whether realty or personalty, to secure payment of the Indebtedness, and Obligor
                             is not relying upon assets in which the Lender may have a lien or security interest
                             for payment of the Indebtedness.

                     2.7     Obligor will pay within the time that they can be paid without interest or penalty
                             all taxes, assessments and similar charges which at any time are or may become a
                             lien, charge, or encumbrance upon any Collateral, except to the extent contested
                             in good faith and bonded in a manner satisfactory to Lender. If Obligor fails to
                             pay any of these taxes, assessments, or other charges in the time provided above,
                             Lender has the option (but not the obligation) to do so and Obligor agrees to repay
                             all amounts so expended by Lender immediately upon demand, together with
                             interest at the highest lawful default rate which could be charged by Lender on
                             any Indebtedness.

                    2.8      [Reserved]

                    2.9      [Reserved]

                    2.10     If at any time the market value of the Collateral maintained in the Coinbase
                             Account drops below 100% of the aggregate outstanding principal and accrued
                             but unpaid interest under the Term Loan (as defined in the Letter Agreement)
                             (and any other loan made by Lender to Borrower after the date hereof) less funds
                             held in the Cash Collateral Account (as defined in the Letter Agreement)
                             (together, the “Outstanding Obligations”) for three consecutive business days,
                             Obligor may, within one business day after such three business day period,
                             deposit additional cryptocurrency (of a type permitted by Lender in its sole
                             discretion) in an amount necessary to cause the total market value of the
                             Collateral maintained in the Coinbase Account to be at least 125% of the
                             Outstanding Obligations.




                                                                                                    Bodman   17559263 5



           23-42939-tjt        Doc 66      Filed 07/31/23      Entered 07/31/23 14:37:17           Page 33 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4




                     2.11    If Lender, acting in its sole discretion, redelivers Collateral to Obligor or
                             Obligor’s designee for the purpose of (a) the ultimate sale or exchange thereof; or
                             (b) presentation, collection, renewal, or registration of transfer thereof; or (c)
                             loading, unloading, storing, shipping, transshipping, manufacturing, processing or
                             otherwise dealing with it preliminary to sale or exchange; such redelivery shall be
                             in trust for the benefit of Lender and shall not constitute a release of Lender’s
                             security interest in it or in the proceeds or products of it unless Lender specifically
                             so agrees in writing. If Obligor requests any such redelivery, Obligor will deliver
                             with such request a duly executed financing statement in form and substance
                             satisfactory to Lender. Any proceeds of Collateral coming into Obligor’s
                             possession as a result of any such redelivery shall be held in trust for Lender and
                             immediately delivered to Lender for application on the Indebtedness. Lender may
                             (in its sole discretion) deliver any or all of the Collateral to Obligor, and such
                             delivery by Lender shall discharge Lender from all liability or responsibility for
                             such Collateral. Lender, at its option, may require delivery of any Collateral to
                             Lender at any time with such endorsements or assignments of the Collateral as
                             Lender may request.

                     2.12    At any time and without notice, Lender may (a) cause any or all of the Collateral
                             to be transferred to its name or to the name of its nominees; (b) receive or collect
                             by legal proceedings or otherwise all dividends, interest, principal payments and
                             other sums and all other distributions at any time payable or receivable on account
                             of the Collateral, and hold the same as Collateral, or apply the same to the
                             Indebtedness, the manner and distribution of the application to be in the sole
                             discretion of Lender; (c) enter into any extension, subordination, reorganization,
                             deposit, merger or consolidation agreement or any other agreement relating to or
                             affecting the Collateral, and deposit or surrender control of the Collateral, and
                             accept other property in exchange for the Collateral and hold or apply the
                             property or money so received pursuant to this Agreement; and (d) take such
                             actions in its own name, or in Obligor’s name, as Lender, in its sole discretion,
                             deems necessary or appropriate to establish exclusive control (as defined in the
                             Uniform Commercial Code) over any Collateral of such nature that perfection of
                             Lender’s security interest may be accomplished by control.

                     2.13    Lender may assign any of the Indebtedness and deliver any or all of the Collateral
                             to its assignee, who then shall have with respect to Collateral so delivered all the
                             rights and powers of Lender under this Agreement, and after that Lender shall be
                             fully discharged from all liability and responsibility with respect to Collateral so
                             delivered.

                             Obligor delivers this Agreement based solely on Obligor’s independent
                             investigation of (or decision not to investigate) the financial condition of
                             Borrower and is not relying on any information furnished by Lender. Obligor
                             assumes full responsibility for obtaining any further information concerning the
                             Borrower’s financial condition, the status of the Indebtedness or any other matter
                             which the undersigned may deem necessary or appropriate now or later. Obligor
                             waives any duty on the part of Lender, and agrees that Obligor is not relying upon

                                                                4
                                                                                                    Bodman_17559263_5



           23-42939-tjt        Doc 66      Filed 07/31/23      Entered 07/31/23 14:37:17           Page 34 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006
                                              EDB21E4




                           nor expecting Lender to disclose to Obligor any fact now or later known by
                           Lender, whether relating to the operations or condition of Borrower, the existence,
                           liabilities or financial condition of any guarantor of the Indebtedness, the
                           occurrence of any default with respect to the Indebtedness, or otherwise,
                           notwithstanding any effect such fact may have upon Obligor’s risk or Obligor’s
                           rights against Borrower.    Obligor knowingly accepts the full range of risk
                           encompassed in this Agreement, which risk includes without limit the possibility
                           that Borrower may incur Indebtedness to Lender after the financial condition of
                           Borrower, or Borrower's ability to pay debts as they mature, has deteriorated.

                   2.15   Obligor shall defend, indemnify and hold harmless Lender, its employees, agents,
                          shareholders, affiliates, officers, and directors from and against any and all
                          claims, damages, fines, expenses, liabilities or causes of action of whatever kind,
                          including without limit consultant fees, legal expenses, and attorney fees, suffered
                          by any of them as a direct or indirect result of any actual or asserted violation of
                          any law, including, without limit, Environmental Laws, or of any remediation
                          relating to any property required by any law, including without limit
                          Environmental Laws.

           3.      Collection of Proceeds. Obligor agrees to collect and enforce payment of all Collateral
                   until Lender shall direct Obligor to the contrary. Immediately upon notice to Obligor by
                   Lender and at all times after that, Obligor agrees to fully and promptly cooperate and
                   assist Lender in the collection and enforcement of all Collateral and to hold in trust for
                   Lender all payments received in connection with Collateral and from the sale, lease or
                   other disposition of any Collateral, all rights by way of suretyship or guaranty and all
                   rights in the nature of a lien or security interest which Obligor now or later has regarding
                   Collateral. Immediately upon and after such notice, Obligor agrees to (a) endorse to
                   Lender and immediately deliver to Lender all payments received on Collateral or from
                   the sale, lease or other disposition of any Collateral or arising from any other rights or
                   interests of Obligor in the Collateral, in the form received by Obligor without
                   commingling with any other funds, and (b) immediately deliver to Lender all property in
                   Obligor’s possession or later coming into Obligor’s possession through enforcement of
                   Obligor’s rights or interests in the Collateral. Obligor irrevocably authorizes Lender or
                   any Lender employee or agent to endorse the name of Obligor upon any checks or other
                   items which are received in payment for any Collateral, and to do any and all things
                   necessary in order to reduce these items to money. Lender shall have no duty as to the
                   collection or protection of Collateral or the proceeds of it, nor as to the preservation of
                   any related rights, beyond the use of reasonable care in the custody and preservation of
                   Collateral in the possession of Lender. Obligor agrees to take all steps necessary to
                   preserve rights against prior parties with respect to the Collateral. Nothing in this Section
                   3 shall be deemed a consent by Lender to any sale, lease or other disposition of any
                   Collateral.

           4.      Defaults, Enforcement and Application of Proceeds.

                   4.1    Upon the occurrence of any of the following events (each an “Event of Default”),
                          Obligor shall be in default under this Agreement:



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          23-42939-tjt      Doc 66     Filed 07/31/23       Entered 07/31/23 14:37:17          Page 35 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-BOA7-79006EDB21E4




                             (a)      Any failure to pay the Indebtedness or any other indebtedness when due,
                                      or such portion of it as may be due, by acceleration or otherwise; or

                             (b)      Any failure or neglect to comply with, or breach of or default under, any
                                      term of this Agreement, or any other agreement or commitment between
                                      Borrower, Obligor, or any guarantor of any of the Indebtedness
                                      (“Guarantor”) and Lender; or

                             (©       Any warranty, representation, financial statement, or other information
                                      made, given or furnished to Lender by or on behalf of Borrower, Obligor,
                                      or any Guarantor shall be, or shall prove to have been, false or materially
                                      misleading when made, given, or furnished; or

                             (d)      Any loss, theft, substantial damage or destruction to or of any Collateral,
                                      or the issuance or filing of any attachment, levy, garnishment or the
                                      commencement of any proceeding in connection with any Collateral or of
                                      any other judicial process of, upon or in respect of Borrower, Obligor, any
                                      Guarantor, or any Collateral; or

                                      Sale or other disposition by Borrower, Obligor, or any Guarantor of any
                                      substantial portion of its assets or property or voluntary suspension of the
                                      transaction of business by Borrower, Obligor, or any Guarantor, or death,
                                      dissolution, termination of existence, merger, consolidation, insolvency,
                                      business failure, or assignment for the benefit of creditors of or by
                                      Borrower,    Obligor, or any Guarantor;        or commencement       of any
                                      proceedings under any state or federal bankruptcy or insolvency laws or
                                      laws for the relief of debtors by or against Borrower, Obligor, or any
                                      Guarantor; or the appointment of a receiver, trustee, court appointee,
                                      sequestrator or otherwise, for all or any part of the property of Borrower,
                                      Obligor, or any Guarantor; or

                             ®       (1) There is any revocation or termination or notice of intended revocation
                                     or termination of the Coinbase Agreement or Lender’s rights as an
                                     authorized user of the Coinbase Agreement without the prior written
                                     consent of the Lender or (it) the Coinbase Agreement or this Agreement
                                     becomes unenforceable or Borrower or Obligor (or Obligor or Borrower
                                     makes any claim to that effect) or fails to constitute a perfected security
                                     interest in the Collateral in favor of Lender; or

                             (2)     A general suspension in buying, selling or owning cryptocurrency by U.S.
                                     federal governmental authorities or a suspension in buying, selling or
                                     owning digital assets or cryptocurrencies on at least three (3) major
                                     exchanges (including Coinbase, Inc., GDAX, Kraken, or Bitstamp), with
                                     such disruption lasting at least five (5) days; or

                             (h)     The market value of the Collateral maintained       in the Coinbase   Account
                                     drops below     100%    of the Outstanding Obligations for three consecutive



                                                                                                   Bodman_17559263_5


           23-42939-tjt          Doc 66    Filed 07/31/23        Entered 07/31/23 14:37:17        Page 36 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4




                                      business days; subject to such cure rights Obligor has under Section 2.10;
                                      or

                                      Lender deems the margin of Collateral insufficient or itself insecure, in
                                      good faith believing that the prospect of payment of the Indebtedness or
                                      performance of this Agreement is impaired or shall fear deterioration,
                                      removal, or waste of Collateral; or

                             0)       A default shall occur under any instrument, agreement or other document
                                      evidencing, securing or otherwise relating to any of the Indebtedness.

                             Upon the occurrence of any Event of Default, Lender may at its discretion and
                             without prior notice to Obligor declare any or all of the Indebtedness to be
                             immediately due and payable and Lender shall have and may exercise any one or
                             more of the following rights and remedies:

                             (a)      Exercise all the rights and remedies upon default, in foreclosure and
                                      otherwise, available to secured parties under the provisions of the Uniform
                                      Commercial Code and other applicable law;

                             (b)      Institute legal proceedings to foreclose upon the lien and security interest
                                      granted by this Agreement, to recover judgment for all amounts then due
                                      and owing as Indebtedness, and to collect the same out of any Collateral or
                                      the proceeds of any sale of it;

                             (c)      Institute legal proceedings for the sale, under the judgment or decree of
                                      any court of competent jurisdiction, of any or all Collateral; and/or

                             (d)     Personally or by agents, attorneys, or appointment of a receiver, enter
                                     upon any premises where Collateral may then be located, and take
                                     possession of all or any of it and/or render it unusable; and without being
                                     responsible for loss or damage to such Collateral, hold, operate, sell, lease,
                                     or dispose of all or any Collateral at one or more public or private sales,
                                     leasings or other dispositions, at places and times and on terms and
                                     conditions as Lender may deem fit, without any previous demand or
                                     advertisement; and except as provided in this Agreement, all notice of
                                      sale, lease or other disposition,   and advertisement,   and   other notice   or
                                     demand, any right or equity of redemption, and any obligation of a
                                     prospective purchaser or lessee to inquire as to the power and authority of
                                     Lender to sell, lease, or otherwise dispose of the Collateral or as to the
                                     application by Lender of the proceeds of sale or otherwise, which would
                                     otherwise be required by, or available to Obligor under, applicable law are
                                     expressly waived by Obligor to the fullest extent permitted.

                                     At any sale pursuant to this Section 4.2, whether under the power of sale,
                                     by virtue of judicial proceedings or otherwise, it shall not be necessary for
                                     Lender or a public officer under order of a court to have present physical
                                     or constructive possession of Collateral to be sold. The recitals contained
                                                                7
                                                                                                     Bodman_17559263_5

           23-42939-tjt        Doc 66      Filed 07/31/23      Entered 07/31/23 14:37:17             Page 37 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4




                                      in any conveyances and receipts made and given by Lender or the public
                                      officer to any purchaser at any sale made pursuant to this Agreement shall,
                                      to the extent permitted by applicable law, conclusively establish the truth
                                      and accuracy of the matters stated (including, without limit, as to the
                                      amounts of the principal of and interest on the Indebtedness, the accrual
                                      and nonpayment of it and advertisement and conduct of the sale); and all
                                      prerequisites to the sale shall be presumed to have been satisfied and
                                      performed. Upon any sale of any Collateral, the receipt of the officer
                                      making the sale under judicial proceedings or of Lender shall be sufficient
                                      discharge to the purchaser for the purchase money, and the purchaser shall
                                      not be obligated to see to the application of the money. Any sale of any
                                      Collateral under this Agreement shall be a perpetual bar against Obligor
                                      with respect to that Collateral. At any sale or other disposition of
                                      Collateral pursuant to this Section 4.2, Lender disclaims all warranties
                                      which would otherwise be given under the Uniform Commercial Code,
                                      including without limit a disclaimer of any warranty relating to title,
                                      possession, quiet enjoyment of the like, and Lender may communicate
                                      these disclaimers to a purchaser at such disposition. This disclaimer of
                                      warranties will not render the sale commercially unreasonable.

                     4.3     Obligor shall at the request of Lender, notify the account debtors or obligors of
                             Lender’s security interest in any Collateral and direct payment of it to Lender.
                             Lender may, itself, upon the occurrence of any Event of Default so notify and
                             direct any account debtor or obligor. At the request of Lender, whether or not an
                             Event   of Default   has occurred,   Obligor   shall immediately   take such actions as
                             Lender shall request to establish exclusive control (as defined in the Uniform
                             Commercial Code) by Lender over any Collateral which is of such a nature that
                             perfection of a security interest may be accomplished by control.

                     44      The proceeds of any sale or other disposition of Collateral authorized by this
                             Agreement shall be applied by Lender first upon all expenses authorized by the
                             Uniform Commercial Code and all reasonable attorney fees and legal expenses
                             incurred by Lender; the balance of the proceeds of the sale or other disposition
                             shall be applied in the payment of the Indebtedness, first to interest, then to
                             principal, then to remaining Indebtedness and the surplus, if any, shall be paid
                             over to Obligor or to such other person(s) as may be entitled to it under applicable
                             law. Obligor shall remain liable for any deficiency, which it shall pay to Lender
                             immediately upon demand. Obligor agrees that Lender shall be under no
                             obligation to accept any noncash proceeds in connection with any sale or
                             disposition of Collateral unless failure to do so would be commercially
                             unreasonable. If Lender agrees in its sole discretion to accept noncash proceeds
                             (unless the failure to do so would be commercially unreasonable), Lender may
                             ascribe any commercially reasonable value to such proceeds. Without limiting
                             the foregoing, Lender may apply any discount factor in determining the present
                             value of proceeds to be received in the future or may elect to apply proceeds to be
                             received in the future only as and when such proceeds are actually received in
                             cash by Lender.


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            23-42939-tjt       Doc 66       Filed 07/31/23        Entered 07/31/23 14:37:17          Page 38 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4




                     4.5     Nothing in this Agreement is intended, nor shall it be construed, to preclude
                             Lender from pursuing any other remedy provided by law for the collection of the
                             Indebtedness or for the recovery of any other sum to which Lender may be
                             entitled for the breach of this Agreement by Obligor. Nothing in this Agreement
                             shall reduce or release in any way any rights or security interests of Lender
                             contained in any existing agreement between Borrower, Obligor, or any
                             Guarantor and Lender.

                     4.6     No waiver of default or consent to any act by Obligor shall be effective unless in
                             writing and signed by an authorized officer of Lender. No waiver of any default
                             or forbearance on the part of Lender in enforcing any of its rights under this
                             Agreement shall operate as a waiver of any other default or of the same default on
                             a future occasion or of any rights.

                     4.7     Obligor (a) irrevocably appoints Lender or any agent of Lender (which
                             appointment is coupled with an interest) the true and lawful attorney of Obligor
                             (with full power of substitution) in the name, place and stead of, and at the
                             expense of, Obligor and (b) authorizes Lender or any agent of Lender, in its own
                             name,   at Obligor’s    expense,   to do any of the following,   as Lender,   in its sole
                             discretion, deems appropriate:

                                      (1)      to demand, receive, sue for, and give receipts or acquittances for
                                               any moneys due or to become due with respect to any Collateral
                                               (including without limit to draft against Collateral) and to endorse
                                               any item representing any payment on or proceeds of the
                                               Collateral;

                                      (ii)     to execute and file in the name of and on behalf of Obligor all
                                               financing statements or other filings deemed necessary or desirable
                                               by Lender to evidence, perfect, or continue the security interests
                                               granted in this Agreement; and

                                      (iii)    to do and perform any act on behalf of Obligor          permitted    or
                                               required under this Agreement.

                     4.8     Upon the occurrence of an Event of Default, Obligor also agrees, upon request of
                             Lender, to assemble the Collateral and make it available to Lender at any place
                             designated by Lender which is reasonably convenient to Lender and Obligor,
                             including, without limitation, consenting to any action or instruction that Lender
                             requests under the Coinbase Agreement, and/or transferring additional Collateral
                             to the Coinbase Account subject to the Coinbase Agreement.

                     4.9     The following shall be the basis for any finder of fact's determination of the value
                             of any Collateral which is the subject matter of a disposition giving rise to a
                             calculation of any surplus or deficiency under Section 9.615 (f) of the Uniform
                             Commercial Code (as in effect on or after July 1, 2001): (a) the Collateral which
                             is the subject matter of the disposition shall be valued in an “as is” condition as



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            23-42939-tjt       Doc 66         Filed 07/31/23     Entered 07/31/23 14:37:17          Page 39 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-BOA7-79006EDB21E4




                             of the date of the disposition, without any assumption or expectation that such
                             Collateral will be repaired or improved in any manner; (b) the valuation shall be
                             based upon an assumption that the transferee of such Collateral desires a resale of
                             the Collateral for cash promptly (but no later than 30 days) following the
                             disposition; (c) all reasonable closing costs customarily borne by the seller in
                             commercial sales transactions relating to property similar to such Collateral shall
                             be deducted including, without limitation, brokerage commissions, tax prorations,
                             attorneys’ fees, whether inside or outside counsel is used, and marketing costs;
                             and (d) the value of the Collateral which is the subject matter of the disposition
                             shall be further discounted to account for any estimated holding costs associated
                             with maintaining such Collateral pending sale (to the extent not accounted for in
                             (c) above), and other maintenance, operational and ownership expenses.          The
                             “value” of any such Collateral shall be a factor in determining the amount of
                             proceeds which would have been realized in a disposition to a transferee other
                             than a secured party, a person related to a secured party or a secondary obligor
                             under Section 9-615(f).

            5.       Miscellaneous.

                     5.1     Until Lender is advised in writing by Obligor to the contrary, all notices, requests
                             and demands required under this Agreement or by law shall be given to, or made
                             upon, Obligor at the first address indicated in Section 5.15 below.

                     5.2     Obligor will give Lender not less than 90 days prior written notice of all
                             contemplated changes in Obligor’s name, chief executive office location, and/or
                             location of any Collateral, but the giving of this notice shall not cure any Event of
                             Default caused by this change.

                     53      Lender assumes no duty of performance           or   other   responsibility   under   any
                             contracts contained within the Collateral.

                     5.4     Lender has the right to sell, assign, transfer, negotiate or grant participations or
                             any interest in, any or all of the Indebtedness and any related obligations,
                             including without limit this Agreement. In connection with the above, but without
                             limiting its ability to make other disclosures to the full extent allowable, Lender
                             may disclose all documents and information which Lender now or later has
                             relating to Obligor, the Indebtedness or this Agreement, however obtained.
                             Obligor further agrees that Lender may provide information relating to this
                             Agreement or relating to Obligor to the Lender’s parent, affiliates, subsidiaries,
                             and service providers.

                     5.5     In addition to Lender’s other rights, any indebtedness owing from Lender to
                             Obligor can be set off and applied by Lender on any Indebtedness at any time(s)
                             either before or after maturity or demand without notice to anyone.

                     5.6     Obligor waives any right to require the Lender to: (a) proceed against any person
                             or property; (b) give notice of the terms, time and place of any public or private


                                                              10
                                                                                                      Bodman_17559263_5


           23-42939-tjt        Doc 66      Filed 07/31/23     Entered 07/31/23 14:37:17              Page 40 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-BOA7-79006EDB21E4




                             sale of personal property security held from Borrower or any other person, or
                             otherwise comply with the provisions of Section 9-611 or 9-621 of the Uniform
                             Commercial Code; or (¢) pursue any other remedy in the Lender’s power.
                             Obligor waives notice of acceptance of this Agreement and presentment, demand,
                             protest, notice of protest, dishonor, notice of dishonor, notice of default, notice of
                             intent to accelerate or demand payment of any Indebtedness, any and all other
                             notices to which the undersigned might otherwise be entitled, and diligence in
                             collecting any Indebtedness, and agree(s) that the Lender may, once or any
                             number of times, modify the terms of any Indebtedness, compromise, extend,
                             increase, accelerate, renew or forbear to enforce payment of any or all
                             Indebtedness, or permit Borrower to incur additional Indebtedness, all without
                             notice to Obligor and without affecting in any manner the unconditional
                             obligation of Obligor under this Agreement.            Obligor unconditionally and
                             irrevocably waives each and every defense and setoff of any nature which, under
                             principles of guaranty or otherwise, would operate to impair or diminish in any
                             way the obligation of Obligor under this Agreement, and acknowledges that such
                             waiver is by this reference incorporated into each security agreement, collateral
                             assignment, pledge and/or other document from Obligor now or later securing the
                             Indebtedness, and acknowledges that as of the date of this Agreement no such
                             defense or setoff exists.

                     5.7     Obligor waives any and all rights (whether by subrogation, indemnity,
                             reimbursement, or otherwise) to recover from Borrower any amounts paid or the
                             value of any Collateral given by Obligor pursuant to this Agreement.

                     5.8     In the event that applicable law shall obligate Lender to give prior notice to
                             Obligor of any action to be taken under this Agreement, Obligor agrees that a
                             written notice given to Obligor at least ten days before the date of the act shall be
                             reasonable notice of the act and, specifically, reasonable notification of the time
                             and place of any public sale or of the time after which any private sale, lease, or
                             other disposition is to be made, unless a shorter notice period is reasonable under
                             the circumstances. A notice shall be deemed to be given under this Agreement
                             when delivered to Obligor or when placed in an envelope addressed to Obligor
                             and deposited, with postage prepaid, in a post office or official depository under
                             the exclusive care and custody of the United States Postal Service or delivered to
                             an overnight courier. The mailing shall be by overnight courier, certified, or first
                             class mail.

                     59      Notwithstanding any prior revocation, termination, surrender, or discharge of this
                             Agreement in whole or in part, the effectiveness of this Agreement shall
                             automatically continue or be reinstated in the event that any payment received or
                             credit given by Lender in respect of the Indebtedness is returned, disgorged, or
                             rescinded under any applicable law, including, without limitation, bankruptcy or
                             insolvency laws, in which case this Agreement, shall be enforceable against
                             Obligor as if the returned, disgorged, or rescinded payment or credit had not been
                             received or given by Lender, and whether or not Lender relied upon this payment
                             or credit or changed its position as a consequence of it.         In the event of

                                                               11
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           23-42939-tjt        Doc 66      Filed 07/31/23     Entered 07/31/23 14:37:17           Page 41 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4




                             continuation or reinstatement of this Agreement, Obligor agrees upon demand by
                             Lender to execute and deliver to Lender those documents which Lender
                             determines are appropriate to further evidence (in the public records or otherwise)
                             this continuation or reinstatement, although the failure of Obligor to do so shall
                             not affect in any way the reinstatement or continuation.

                     5.10    This Agreement and all the rights and remedies of Lender under this Agreement
                             shall inure to the benefit of Lender’s successors and assigns and to any other
                             holder who derives from Lender title to or an interest in the Indebtedness or any
                             portion of it, and shall bind Obligor and the heirs, legal representatives,
                             successors, and assigns of Obligor. Nothing in this Section 5.10 is deemed a
                             consent by Lender to any assignment by Obligor.

                             If there is more than one Obligor, all undertakings, warranties and covenants
                             made by Obligor and all rights, powers and authorities given to or conferred upon
                             Lender are made or given jointly and severally.

                             Except as otherwise provided in this Agreement, all terms in this Agreement have
                             the meanings assigned to them in Article 9 (or, absent definition in Article 9, in
                             any other Article) of the Uniform Commercial Code, as those meanings may be
                             amended, revised or replaced from time to time. “Uniform Commercial Code”
                             means Act No. 174 of the Michigan Public Acts of 1962, as amended, revised or
                             replaced from time to time, including without limit as amended by Act No. 348 of
                             the Michigan Public Acts of 2000. Notwithstanding the foregoing, the parties
                             intend that the terms used herein which are defined in the Uniform Commercial
                             Code have, at all times, the broadest and most inclusive meanings possible.
                             Accordingly, if the Uniform Commercial Code shall in the future be amended or
                             held by a court to define any term used herein more broadly or inclusively than
                             the Uniform Commercial Code in effect on the date of this Agreement, then such
                             term, as used herein, shall be given such broadened meaning.        If the Uniform
                             Commercial Code shall in the future be amended or held by a court to define any
                             term used herein more narrowly, or less inclusively, than the Uniform
                             Commercial Code in effect on the date of this Agreement, such amendment or
                             holding shall be disregarded in defining terms used in this Agreement.

                             No single or partial exercise, or delay in the exercise, of any right or power under
                             this Agreement, shall preclude other or further exercise    of the rights and powers
                             under this Agreement. The unenforceability of any provision of this Agreement
                             shall not affect the enforceability of the remainder of this Agreement.          This
                             Agreement constitutes the entire agreement of Obligor and Lender with respect to
                             the subject matter of this Agreement. No amendment or modification of this
                             Agreement shall be effective unless the same shall be in writing and signed by
                             Obligor and an authorized officer of Lender. This Agreement shall be governed
                             by and construed in accordance with the internal laws of the State of Michigan,
                             without regard to conflict of laws principles.




                                                               12
                                                                                                   Bodman_17559263_5


           23-42939-tjt        Doc 66       Filed 07/31/23    Entered 07/31/23 14:37:17           Page 42 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-BOA7-79006EDB21E4




                             To the extent that any of the Indebtedness is payable upon demand, nothing
                             contained in this Agreement shall modify the terms and conditions of that
                             Indebtedness nor shall anything contained in this Agreement prevent Lender from
                             making demand, without notice and with or without reason, for immediate
                             payment of any or all of that Indebtedness at any time(s), whether or not an Event
                             of Default has occurred.

                             Obligor represents and warrants that Obligor’s exact name is the name set forth in
                             this Agreement. Obligor further represents and warrants and agrees that Obligor
                             is an individual, and at all times shall be, located (as determined pursuant to the
                             Uniform Commercial Code) at Obligor’s principal residence which is 31153 W.
                             Chelton Drive, Beverly Hills, Michigan.

                     5.16    A carbon, photographic, .pdf or other reproduction of this Agreement shall be
                             sufficient as a financing statement under the Uniform Commercial Code and may
                             be filed by Lender in any filing office.

                     5.17    This Agreement shall be terminated only by the filing of a termination statement
                             in accordance with the applicable provisions of the Uniform Commercial Code,
                             but the obligations contained in Section 2.13 of this Agreement shall survive
                             termination.

            6.       OBLIGOR AND LENDER ACKNOWLEDGE THAT THE RIGHT TO TRIAL BY
                     JURY IS A CONSTITUTIONAL ONE, BUT THAT IT MAY BE WAIVED. EACH
                     PARTY, AFTER CONSULTING (OR HAVING HAD THE OPPORTUNITY TO
                     CONSULT)   WITH  COUNSEL  OF THEIR CHOICE, KNOWINGLY      AND
                     VOLUNTARILY, AND FOR THEIR MUTUAL BENEFIT WAIVES ANY RIGHT
                     TO TRIAL BY JURY IN THE EVENT OF LITIGATION REGARDING THE
                     PERFORMANCE OR ENFORCEMENT OF, OR IN ANY WAY RELATED TO,
                     THIS AGREEMENT OR THE INDEBTEDNESS.

            7.       Special Provisions Applicable to this Agreement.

                     (a)     The Coinbase Account will be established with Coinbase and may be subject to
                             certain terms and conditions of the Coinbase platform, including without
                             limitation, the allocation of certain rights to Obligor as an authorized user of the
                             Coinbase Account (the “Coinbase Agreement”).           In the event of any conflict
                             between the terms of this Agreement and the terms and conditions of the
                             Coinbase Agreement governing the relationship between Lender on the one hand,
                             and Obligor on the other, the terms and conditions of this Agreement shall govern
                             and control, and Obligor shall take all actions requested by Lender in order to
                             give full force and effect to this Agreement notwithstanding anything to the
                             contrary in the Coinbase Agreement. Obligor shall not withdraw or transfer or
                             authorize any other person or entity to withdraw or transfer any assets from the
                             Coinbase Account without the prior written consent of Lender. Should the market
                             value of the cryptocurrency (and other digital assets approved by Lender)
                             deposited into the Coinbase Account exceed 150% of the Outstanding


                                                              13
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            23-42939-tjt       Doc 66       Filed 07/31/23    Entered 07/31/23 14:37:17          Page 43 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-B9A7-79006EDB21E4




                             Obligations, Obligor shall be permitted to make withdrawals from the Coinbase
                             Account in an amount which, after such withdrawal, maintains at least a market
                             value of at least 125% of the Outstanding Obligations.

                     (b)     So long as no Event of Default has occurred and is continuing hereunder, Obligor
                             may trade and sell assets in the Coinbase Account without the prior written
                             consent of Lender, provided that any trades are in exchange solely for Bitcoin,
                             Ethereum, or Stablecoin currency of USD, British Pound, Euro, Japanese Yen,
                             AUD, or CAD and the proceeds of any assets sold or traded (in whatever form)
                             are deposited in or credited to the Coinbase Account contemporaneously with
                             such sale or trade.

                     (c)     In the event Coinbase provides check writing, line of credit or credit card
                             privileges under the Coinbase Account (“Credit Options”), Obligor covenants and
                             agrees that it shall not utilize any Credit Option in any manner whatsoever.

                     (d)     Obligor covenants and agrees to promptly notify Lender in the event any party
                             other than Lender asserts or claims a lien or encumbrance against the Coinbase
                             Account or any of the other Collateral.

                     (e)     Obligor shall pay to or reimburse Lender, on demand, any and all costs and
                             expenses, including without limitation, reasonable attorneys’ fees, incurred by
                             Lender under the terms of the Coinbase Agreement, incurred in connection with
                             the preparation,     execution,  delivery, amendment,    administration,   waiver,
                             enforcement and performance of this Agreement, the Coinbase Agreement and
                             the related documents, or incurred in connection with the protection of its rights
                             under this Agreement or the Coinbase Agreement or any action or proceeding
                             relating to this Agreement or the Coinbase Agreement.

                     63)     Obligor covenants and agrees that it will not permit Coinbase to enter into a
                             Coinbase Agreement with respect to the Coinbase Account with any party, other
                             than Lender, or otherwise authorize or permit Coinbase to agree with any other
                             party to comply with entitlement orders concerning the Coinbase Account
                             originated by such party.

                     (2)     Obligor covenants and agrees that it shall cause Coinbase to report all items of
                             income, gain, expense or loss relating to the Coinbase Account to the applicable
                             taxing authorities under Obligor’s social security number. In the event any item
                             of income, gain, expense or loss with respect to the Coinbase Account or any of
                             the other Collateral is mistakenly reported to the Internal Revenue Service or any
                             state or local taxing authority under the name or tax identification number of
                             Lender, Obligor shall assist Lender in having such income, gain, expense or loss
                             properly attributed under the name and social security number of Obligor and
                             Obligor shall reimburse Lender for all costs and expenses incurred by Lender in
                             connection with any corrections related to such mistaken reporting.




                                                              14
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            23-42939-tjt       Doc 66       Filed 07/31/23   Entered 07/31/23 14:37:17          Page 44 of 54
DocuSign Envelope ID: FEODB556-CED7-44A4-BOA7-79006EDB21E4




                                                                   Obligor:
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                                                                   A                {OYCE BIGNELL, individually




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           23-42939-tjt        Doc 66      Filed 07/31/23    Entered 07/31/23 14:37:17              Page 45 of 54
                        Exhibit C




23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 4891-5649-0097_3
                                                                          46 of 54
                                     STATE OF MICHIGAN
                        IN THE CIRCUIT COURT FOR OAKLAND           COUNTY

FRANKLIN CAPITAL GROUP, LLC,                         Case No. 2022-197260-CB
a Michigan limited liability company,
                                                     Hon. Michael Warren
          Plaintiff,

Vv.                                                  CONFESSED JUDGMENT

SAHB ENERGY, LLC, a Michigan limited
liability company, and ADAM BIGNELL, an
individual,

          Defendants.


BODMAN         PLC
J. Adam Behrendt (P58607)
Melissa Benton Moore (P73018)
201 West Big Beaver Road, Suite 500
Troy, Michigan 48084
(248) 743-6000
jbehrendt@bodmanlaw.com
mmoore@bodmanlaw.com
Attorneys for Plaintiff




                                                                                  4890-4096-1342.v1
      23-42939-tjt     Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17     Page 47 of 54
                                    CONFESSED JUDGMENT

                                At a session of said Court, held in the
                          Oakland County Circuit Court, State of Michigan
                                  on 12/14/2022                  2022
                                              MICHAEL WARREN
                          PRESENT: Hon.
                                              Oakland Circuit Court Judge

         Counsel for plaintiff appeared before the Court and demonstrated that SAHB Energy, LLC

and Adam Bignell (“defendants”) consented and confessed to the entry of this Confessed Judgment

(“Judgment”).    Counsel for plaintiff further demonstrated that defendants waived any requirement

that the Court make any specific findings to support entry of this Judgment and their rights to

appeal. Additionally, the Court is otherwise satisfied that entry of this Judgment is justified.

         Having been otherwise fully advised on the premises;

         IT IS HEREBY     ORDERED       AND    ADJUDGED       that Franklin Capital Group, LLC has a

judgment against defendants in the amount of $1,105,754.02, representing the current outstanding

indebtedness due and owing under the loan agreements between the parties.            This Judgment shall

accrue interest at the contractual rate in place at the time of entry.

         IT IS FURTHER ORDERED AND ADJUDGED that this Judgment shall be effective and

enforceable immediately upon entry.        Defendants shall have no right to appeal this Judgment

pursuant to their waiver of such rights.

         This is a final order that resolves the last pending claim and closes the case.


         IT IS SO ORDERED.

                                                   /s/ Michael Warren           la
                                                 Hon.
Dated:    December     14, 2022




                                                                                           4890-4096-1342.v1
  23-42939-tjt      Doc 66     Filed 07/31/23      Entered 07/31/23 14:37:17           Page 48 of 54
                        Exhibit D




23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 4891-5649-0097_3
                                                                          49 of 54
                                     STATE OF MICHIGAN
                        IN THE CIRCUIT COURT FOR OAKLAND           COUNTY

FRANKLIN CAPITAL MANAGEMENT,                         Case No. 2022-197261-CB
LLC, a Michigan limited liability company,
                                                     Hon. Michael Warren
          Plaintiff,

Vv.                                                  CONFESSED JUDGMENT

SAHB ENERGY, LLC, a Michigan limited
liability company, and ADAM BIGNELL, an
individual,

          Defendants.


BODMAN         PLC
J. Adam Behrendt (P58607)
Melissa Benton Moore (P73018)
201 West Big Beaver Road, Suite 500
Troy, Michigan 48084
(248) 743-6000
jbehrendt@bodmanlaw.com
mmoore@bodmanlaw.com
Attorneys for Plaintiff




                                                                                  4877-2126-2910.v1
      23-42939-tjt     Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17     Page 50 of 54
                                       CONFESSED JUDGMENT

                               At a session of said Court, held in the
                         Oakland County Circuit Court, State of Michigan
                                       12/14/2022
                                  on                               2022
                                               MICHAEL WARREN
                             PRESENT: Hon.
                                               Oakland Circuit Court Judge

        Counsel for plaintiff appeared before the Court and demonstrated that SAHB Energy, LLC

and Adam Bignell (“defendants”) consented and confessed to the entry of this Confessed Judgment

(“Judgment”).    Counsel for plaintiff further demonstrated that defendants waived any requirement

that the Court make any specific findings to support entry of this Judgment and their rights to

appeal. Additionally, the Court is otherwise satisfied that entry of this Judgment is justified.

        Having been otherwise fully advised on the premises;

        IT IS HEREBY ORDERED AND ADJUDGED that Franklin Capital Management, LLC

has   a judgment   against    defendants    in the    amount   of $38,141.78,   representing     the current

outstanding indebtedness due and owing under the loan agreements between the parties.                      This

Judgment shall accrue interest at the contractual rate in place at the time of entry.

        IT IS FURTHER ORDERED AND ADJUDGED that this Judgment shall be effective and

enforceable immediately upon entry.          Defendants shall have no right to appeal this Judgment

pursuant to their waiver of such rights.

        This is a final order that resolves the last pending claim and closes the case.


        IT IS SO ORDERED.

                                                      /s/ Michael Warren            la
                                                     Hon.


Dated: December14, 2022



                                                                                               4877-2126-2910.v1
  23-42939-tjt     Doc 66       Filed 07/31/23         Entered 07/31/23 14:37:17         Page 51 of 54
                        Exhibit E




23-42939-tjt   Doc 66   Filed 07/31/23   Entered 07/31/23 14:37:17   Page 4891-5649-0097_3
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                             Approved, SCAQ                                                   2nd copy - Judgment creditor                                      4th copy - Return of service

                                   STATE OF MICHIGAN                                                                                                             CASE NO.
                                            JUDICIAL DISTRICT                     NOTICE OF JUDGMENT LIEN
                                        6th JUDICIAL CIRCUIT                                                                                     2022-197261-CB
                       Court address                                                                                                                                        Court telephone no.

                       1200 N. Telegraph, Pontiac, MI 48341                                                                                      (248) 858-0344

                       Plaintiff name                                                                            Defendant name
                       Franklin Capital Management, LLC                                                v         Sahb Energy, LLC and Adam Bignell
Oakland County Clerk




                       Judgment creditor's name and address                                                      Judgment debtor's name and address
                       Franklin Capital Management, LLC                                                          Adam R. Bignell


                                                                                                                 Last 4 digits of social security no. or full tax identification no.
                                                                                                                 XXX-XX-0413
                       Judgment creditor's attorney, bar no., address, and telephone no.                         Judgment debtor's attorney, bar no., address, and telephone no.
                       J. Adam Behrendt (P58607), Bodman PLC
                       201 W. Big Beaver Road, Suite 500
                       Troy, MI 48084
                       (248) 743-6000
Received for Filing




                        1.     |am recording a judgment lien with the register of deeds in Oakland County                                                                              County
                              against the judgment debtor's current or future interest in real property.
                       2. The current balance due on the judgment is $ 38,329.68                                                                     en
                       3. The judgment was entered on December 14, 2022                                          and expires December 14, 2032
                       4, Except as otherwise prescribed by statute, this judgment lien expires 5 years after the date it is recorded with the register of
                          deeds or when the underlying judgment expires, whichever is earlier.

                        1/5/2023                                                                           /s/J. Adam Behrendt P58607
                        Date                                                                               Signalure of judgment creditor/judgment creditor's attorney                                   y,

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                        | certify that the above notice of judgment lienyhas been filed and includes the information required by MCL 600.2805(1).                                                       f \
                                                                                                              Lisa Brown
                                                                         _ Clerk of the Court:                                                                                                                \)
                         1/6/2023                                        2                                         /s/ C. Tucker                                                                    yh
                                                                          ‘«          pignec by:
                       Date                                                                            Clerk/Deputy clerk



                                                           J. Adam Behrendt (P58607), Bodman PLC
                        When       recorded,   return to
                                                           201 W. Big Beaver Road, Suite 500, Troy, MI 48084


                       Mc 94               NOTICE OF JUDGMENT
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                                                                                                           1st copy - Court                                                   3rd copy - Judgment debtor
                               Approved, SCAO                                                              2nd copy - Judgment creditor                                       4th copy - Return of service
                                      STATE OF MICHIGAN                                                                                                                        CASE NO.
                                                    JUDICIAL DISTRICT                             NOTICE OF JUDGMENT LIEN
                                              6th    JUDICIAL CIRCUIT                                                                                       2022-197260-CB
                        Court address                                                                                                                                                    Court telephone no.
                          1200 N. Telegraph, Pontiac, MI 48341                                                                                              (248) 858-0344

                         Plaintiff name                                                                                       Defendant name
                          Franklin Capital Group, LLC                                                               Vv        Sahb Energy, LLC and Adam Bignell
 Oakland County Clerk




                         Judgment credltor's name and address                                                                 Judgment debtor’s name and address
                          Franklin Capital Group, LLC                                                                         Adam R. Bignell

                                                                                                                              Last 4 digits of social security no. or full tax identification no.
                                                                                                                              XXX-XX-0413
                         Judgment creditor's attorney, bar no., address, and telephone no.                                    Judgment debtor's attorney, bar no., address, and telephone no.
                         J. Adam Behrendt (P58607), Bodman PLC
                         201 W. Big Beaver Road, Suite 500
                         Troy, MI 48084
                         (248) 743-6000
Received for Filing




                         1.      lam recording a judgment lien with the register of deeds in Oakland County                                                                                             County
                                against the judgment debtor’s current or future interest in real property.
                               . The current balance due on the judgment is $ 1.111,201.48
                        BwhN




                               . The judgment was entered on December 14, 2022                                              and expires December 14, 2032                                           .
                               . Except as otherwise prescribed by statute, this judgment lien expires 5 years after the date it is recorded with the register of
                                 deeds or when the underlying judgment expires, whichever is earlier.
                          1/5/2023                                                                                       /siJ. Adam Behrendt P58607
                         Date                                                                                            Signature of judgment credilor/judgment creditor's attorney                              ?



                                                                                                                                                                                                                      [
FILED




                                                                                                         | CERTIFICATION |                                                                                   i
                                                                                         ye       CIR(
                         | certify that the above notice of judgmentilien has been filed and includes the informatlon required by MCL 600.2805(1).                                                                 ) J
                                                                                                                                                                                                                 | ah
                                                                                                                                    Lisa Brown
                                                                              z               Y

                                                                                        of thé Court:
                                                                                     Clerk
                                                                                                                                                                                                                 Q/




                                  1/6/2023                                                                                      /s/ C. Tucker
                                                                                                     Signed by:
                        Date                                                                                      Clerk/Deputy clerk



                        When recorded, return to J. Adam Behrendt (P58607), Bodman PLC
                                                                201 W. Big Beaver Road, Suite 500, Troy, MI 48084


                        Mc 94       (6/17)     NOTICE OF JUDGMENT                 LIEN                                                                                               MCL 600.2805
                                             23-42939-tjt          Doc 66          Filed 07/31/23                 Entered 07/31/23 14:37:17                              Page 54 of 54
